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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. SACV 16-00009-JLS (DFMx)                                  Date: April 11, 2016
Title: Traci Wolbert v. Quality Systems, Inc. et al.

 Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

       Terry Guerrero                                               N/A
       Deputy Clerk                                            Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                  ATTORNEYS PRESENT FOR DEFENDANT:

       Not Present                                             Not Present

PROCEEDINGS:           (IN CHAMBERS) ORDER DENYING DEFENDANTS’ MOTION
                       TO TRANSFER VENUE (Doc. 20)

       Before the Court is Defendants Quality Systems, Inc. and NextGen Healthcare
Information Systems, LLC’s Motion to Transfer Venue. (Mot., Doc. 20.) Plaintiff Traci
Wolbert opposes the Motion. (Opp., Doc. 25.) Defendants replied. (Reply, Doc. 26.)
The Court finds this matter appropriate for disposition without oral argument. Fed. R.
Civ. P. 78(b); C.D. Cal. R. 7-15. For the reasons stated below, the Court DENIES
Defendants’ Motion.

  I.   BACKGROUND

        In 2002, Wolbert was hired by NextGen, a subsidiary of Quality Systems.1 (FAC
¶¶ 17-18, Doc. 14.) Both NextGen and Quality Systems are California corporations and
have a principal place of business in Irvine, California. (Id. ¶¶ 4, 6.) Wolbert was hired
as a sales executive to be based in Southern California. (Id. ¶ 17.) At the time of her
hiring, Wolbert resided in Long Beach, California. (La Fiura Decl., Ex. 1, “Wolbert
Decl.,” ¶ 2, Doc. 20-2.) From 2002 to 2007, Wolbert lived in California and worked
from her home. (Id. ¶ 6.) In or around the start of 2008, Wolbert moved to Pennsylvania.
(Id. ¶ 7.) Even after her relocation, Wolbert remained a “remote employee” and worked

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         Except where otherwise noted, the Court obtains the allegations in this Background
section from Wolbert’s First Amended Complaint. (See generally FAC, Doc. 14.)
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primarily from her home. (Id.) Throughout her employment, however, Wolbert
“continued to work with clients in California.” (Id.) As part of her work, Wolbert
occasionally traveled to California to meet with and service clients. (Id.) Wolbert is
currently a resident of Philadelphia, Pennsylvania. (FAC ¶ 2.)
        On July 13, 2013, Wolbert was promoted to the position of “Director.” (Id. ¶ 23.)
In this position, Wolbert reported directly to Steve Puckett, a Senior Vice President and
Chief Technical Officer of Quality Systems. (Id. ¶¶ 21, 23.) Puckett started his
employment with Quality Systems in 2009 and has served as CTO since 2012. (La Fiura
Decl., Ex. 3, “Puckett Decl.,” ¶ 1, Doc. 20-2.) Since 2007, Puckett has been a resident of
Florida. (Id. ¶ 2.) Puckett works primarily from Quality Systems’ offices in Irvine,
California, and his home in Orlando, Florida. (Id. ¶ 7.) As a result, some – if not most –
of Puckett’s communications with Wolbert were done via email, text message, and
telephone. (Id. ¶ 8.)
        In her role as Director, Wolbert directed NextGen’s clinical content program for
one of its flagship “KBM products” and its new “NG7 software.” (FAC ¶ 24.) For much
of her time as Director, Puckett “publically lauded” Wolbert’s performance. (Id. ¶ 25.)
During this period she received bonuses totaling at least $96,000. (Id. ¶ 26.) Shortly
after her promotion, however, Puckett started to make “inappropriate demands upon and
requests of” Wolbert. (Id. ¶ 27.) These demands included that Wolbert “travel with
[Puckett] to non-worked [sic] related activities,” and that she “join him in various annual
hedonistic events in New Orleans[.]” (Id.) Wolbert denied Puckett’s invitations and told
him she was not interested in a romantic relationship and that she had a boyfriend. (Id. ¶
28.) Nevertheless, Puckett continued to “demand that she travel with him.” (Id.) Puckett
also “repeatedly sent her text messages that included inappropriate pictures of himself at
these events, and invitations to these events with electronic links to nudity laced
pictures[.]” (Id.) The FAC alleges, on information and belief, that Puckett drank heavily,
and that during these periods “he routinely sent [Wolbert] text messages . . . which were
sexual and harassing in nature.” (Id. ¶ 29.)
        As part of her employment, Wolbert regularly attended company functions where
Puckett was present. (Id. ¶ 30.) On several occasions, “Puckett behaved in an
inappropriate manner towards Wolbert[.]” (Id.) In part, Puckett’s conduct caused
Wolbert’s co-workers “to gossip and speculate about the nature of their relationship.”
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(Id.) The FAC asserts that some of these co-workers “opined that Wolbert had obtained
her position because she had engaged in, and/or was engaging in, a sexual relationship
with Mr. Puckett.” (Id. ¶31.) When Wolbert learned of these rumors, “she reported them
to Puckett and again told him that she did not want to travel with him to any event or
activity that was not work-related.” (Id. ¶ 31.)
        In 2014, for the two-month period from January through March, “Puckett
repeatedly pressured Wolbert to move to Irvine with him.” (Id. ¶ 32.) The FAC alleges
that “no one else who reported to Puckett, nor any other executive of the company, was
being asked to move to Irvine.” (Id.) After Wolbert declined the invitation, Puckett
called Wolbert and warned Wolbert not to refuse. (Id.) The comments made Wolbert
fearful for her safety and for her job. (Id.) When Wolbert asked whether the move was a
condition of her employment, Puckett, who appeared drunk, stated that it was not. (Id.)
Thereafter, Puckett “refused to authorize payment of Wolbert’s bonus[.]” (Id. ¶ 33.)
Wolbert eventually received her bonus in June 2014. (Id.) Additionally, after Wolbert’s
refusal to relocate, “Puckett became increasingly hostile when [Wolbert] refused his
demands that she accompany him on trips[,]” including a trip to India. (Id. ¶ 34.)
        On August 24, 2014, Wolbert spoke to Donna Greene, NextGen’s Senior Vice
President of Human Relations, to report Puckett’s conduct. (Id. ¶ 35.) Wolbert informed
Greene that Puckett’s conduct made her uncomfortable and that his conduct had
prompted rumors within the company. (Id.) Wolbert also described Puckett’s invitations
to travel even where “no business justification” was present. (Id.) Greene informed
Wolbert that “she had heard the rumors that Puckett and Wolbert were having a
relationship.” (Id. ¶ 37.) Additionally, Greene told Wolbert that she would talk to
Puckett about the travel invitations. (Id.) Greene also instructed Wolbert to tell Puckett
when his conduct made her uncomfortable. (Id.) The FAC alleges, on information and
belief, that, following the meeting with Wolbert, Greene spoke with Puckett. (Id. ¶ 38.)
Thereafter, Greene contacted Wolbert, told her she had spoken to Puckett, and informed
her that the trip to India had been cancelled. (Id.)
        Notwithstanding Green’s assurances, Puckett continued to tell Wolbert that the
trip to India would go forward, including through text messages. (Id. ¶ 39.) On August
27, 2014, Wolbert informed Puckett that she did not want to travel to India with him. (Id.
¶ 41.) In response, “Puckett became hostile, repeatedly stating that they needed to make
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the trip.” (Id.) Later in the same conversation, Puckett stated that “[t]his was a test. I
wanted to see how far I could push you. I wanted you to say yes and follow my lead.
You failed the test. I wanted to know that you are in this with me.” (Id.)
        On September 2, 2014, Wolbert had another telephone call with Greene. (Id. ¶
42.) On this call, Wolbert provided a more detailed history of the harassment that she
had been experiencing. (Id.) After the call, Wolbert sent Greene a timeline of events,
with notes. (Id.) Greene promised to discuss the situation with Puckett, but to keep the
details of the complaint and timeline confidential. (Id.) However, on September 3, 2014,
Greene informed Wolbert that she had spoken to Puckett about the complaint and
disclosed the timeline to him. (Id. ¶ 43.) According to the FAC, Greene assured Wolbert
that there would be no retaliation and stated that “[y]our working relationship just needs
time to smooth over and I’m sure it will be back to normal.” (Id.)
        On October 9, 2014, Greene telephoned Wolbert to inform her that “8 employees
had filed complaints” against her, including allegations that she was combative,
uncooperative, and a poor leader. (Id. ¶ 44.) The following day, on October 10, Greene
and Puckett telephoned Wolbert to inform her that, although they did not credit the
complaints, her thirty-five person team of employees would no longer report to her. (Id.
¶ 45.) After Wolbert questioned whether the change was a result of her work
performance, Greene assured her that “[n]o, none of this is due to your performance . . .
you aren’t letting [Puckett] down, rather the contrary. It is because of your
accomplishments and track record that we know you can rebuild from scratch[.]” (Id. ¶
46.) Wolbert was also informed that she would be placed in a new position reporting to
Ben Mehling, and that her compensation would be reduced by fifty percent because she
had been “making too much money.” (Id.) According to the FAC, “Wolbert was
demoted in retaliation for her complaints regarding harassment by Puckett.” (Id. ¶ 48.)
        On October 20, 2014, Wolbert sent a letter to Quality System’s Board of Directors
to request an impartial investigation into her complaints of harassment and retaliation.
(Id. ¶ 49.) Wolbert further requested that Quality Systems take “appropriate disciplinary
action” against Puckett and Greene, and to restore her to a comparable position and
compensation level. (Id.) On November 4, 2014, Wolbert received an email from Shadi
Ghaffarzadeh, an attorney in Quality Systems’ legal department, advising her that
Wolbert was scheduled to meet with an “independent third party investigator[.]” (Id. ¶
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50.) The investigator had been retained by Quality Systems to “investigate the issues
raised in [her] October 20, 2014 letter to the Board.” (Id.) The interview was scheduled
for November 6, 2014 in Irvine, California. (Id.)
       On November 6, 2014, Wolbert met with Matthias Wagener, an attorney who had
been retained to conduct the investigation. (Id. ¶ 51.) The interview lasted an entire day
and was held at the Quality Systems’ corporate headquarters in Irvine, California. (Id.)
At the interview, Wolbert “described, in detail, the harassment and retaliation to which
she had been subjected, and gave Wagener a list of people to interview.” (Id.) Wolbert
further told Wagener that “Greene had previously protected male employees who had
sexually harassed or discriminated against female employees.” (Id.) Wolbert provided
Wagener with detailed information regarding these prior instances. (Id.)
       On December 1, 2014, Wagener sent a letter to Wolbert’s attorney stating that he
had shared Wolbert’s concerns of retaliation with the company and that he was
continuing to investigate. (Id. ¶ 52.) As alleged in the FAC, thereafter Quality Systems
“began a review of work that Wolbert had performed since her demotion, in order to
manufacture a record of poor performance on the part of Wolbert, and justify her
termination.” (Id. ¶ 53.) During this period, “Wolbert was repeatedly excluded from
meetings and was not included in email communications in which her work and that of
her team was discussed and reviewed.” (Id.) On December 18, 2014, Ricki Morgan, an
independent contractor, informed Wolbert that she, Mehling, and Dr. Robert Murry were
evaluating work done by Wolbert and her team. (Id. ¶ 54.) When asked by Wolbert
whether the review concerned her performance, Mehling stated “[a]bsolutely not.” (Id.)
On December 22, 2014, Wagener re-interviewed Wolbert via Skype. (Id. ¶ 56.) The
interview “was almost entirely directed towards questions regarding Wolbert’s
performance.” (Id.)
       On January 30, 2015, Wolbert received a call from Mehling and a representative
from Human Resources informing her that she was being terminated for her
“performance on the NG7 project.” (Id. ¶¶ 59-60.) At the time of the call, Mehling was
based in Quality Systems’ corporate headquarters in Irvine, California. (Id. ¶ 60.)
According to the FAC, “Wolbert was terminated in retaliation for her complaints to
Greene about the sexual harassment and retaliation that Wolbert had suffered on account
of Puckett’s conduct, as well as in retaliation for her complaints that Greene had
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previously protected male employees who had sexually harassed or discriminated against
female employees.” (Id. ¶ 61.)
       On December 3, 2015, Wolbert filed a complaint against Defendants in Orange
County Superior Court. (Notice of Removal, Ex. A, Doc. 1-2.) Defendants removed the
action to this Court on January 5, 2016. (Notice of Removal, Doc. 1.) Wolbert filed the
operative FAC on January 21, 2016. (FAC, Doc. 14.) The instant Motion followed.

II.    LEGAL STANDARD

       “For the convenience of parties and witnesses, in the interest of justice, a district
court may transfer any civil action to any other district or division where it might have
been brought.” 28 U.S.C. § 1404(a). The purpose of Section 1404(a) is to “prevent the
waste ‘of time, energy, and money’ and ‘to protect litigants, witnesses and the public
against unnecessary inconvenience and expense.”’ Van Dusen v. Barrack, 376 U.S. 612,
616 (1964) (citing Cont’l Grain Co. v. The FBL-585, 364 U.S. 19, 26-27 (1960)). A
motion for transfer lies within the discretion of the district court, and must be determined
on an individualized basis. See Jones v. GNC Franchising, Inc., 211 F.3d 495, 498 (9th
Cir. 2000) (citing Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29 (1988)).
       When determining whether a transfer is proper, a court must employ a two-step
analysis. First, a court must consider the threshold question of whether the case could
have been brought in the forum to which the moving party seeks to transfer the case. See
Hatch v. Reliance Ins. Co., 758 F.2d 409, 414 (9th Cir. 1985). Only after this
requirement has been satisfied, should a court consider whether a change of forum is
warranted by an “individualized, case-by-case consideration of convenience and
fairness.” Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29 (1988) (quoting Van Dusen,
376 U.S. at 622).
       As the Supreme Court has made clear, this individualized analysis requires a court
to “evaluate both the convenience of the parties and various public-interest
considerations.” Atl. Marine Constr. Co. v. U.S. Dist. Court for W. Dist. of Texas, 134 S.
Ct. 568, 581 (2013). These dual considerations are often referred to as “the parties’
private interests” and the “public-interest factors,” respectively. Id. at 581, n.6. As
enumerated by the Ninth Circuit, the former include:
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       (1) the location where the relevant agreements were negotiated and executed, (2)
       the state that is most familiar with the governing law, (3) the plaintiff’s choice of
       forum, (4) the respective parties’ contacts with the forum, (5) the contacts relating
       to the plaintiff’s cause of action in the chosen forum, (6) the differences in the cost
       of litigation in the two forums, (7) the availability of compulsory process to
       compel attendance of unwilling non-party witnesses, and (8) the ease of access to
       sources of proof.

Jones, 211 F.3d at 498-99. Separately, “[p]ublic-interest factors may include ‘the
administrative difficulties flowing from court congestion; the local interest in having
localized controversies decided at home; [and] the interest in having the trial of a
diversity case in a forum that is at home with the law.” Atl. Marine, 134 S.Ct. at 581, n.6
(citation omitted).
        “A transfer of venue is not appropriate unless the factors enumerated strongly
favor venue elsewhere.” Moreno v. SFX Entm’t, Inc., No. CV 14-880 RSWL CWx, 2014
WL 3810121, at *3 (C.D. Cal. Aug. 1, 2014) (citing Pac. Car & Foundry v. Pence, 403
F.2d 949, 953 (9th Cir. 1968)). “The defendant must make a strong showing of
inconvenience to warrant upsetting the plaintiff’s choice of forum.” Id. (citing and
quoting Decker Coal Co. v. Commonwealth Edison Co., 805 F.2d 834, 843 (9th Cir.
1986)).

III.   DISCUSSION

        The Court finds – and the Parties do not dispute – that the proposed transferee
district, the Eastern District of Pennsylvania, is one wherein the action could have been
brought. (Compare Mot. at 9-10 (arguing that an E.D. Pa. district court would have both
diversity and personal jurisdiction, and would be a proper venue) with Opp. at 8-15
(contesting only the convenience factors).) Therefore, the Court’s analysis focuses on
whether a change of forum is supported by an “individualized, case-by-case consideration
of convenience and fairness.” Stewart Org., 487 U.S. at 29 (quoting Van Dusen, 376
U.S. at 622). The Court considers the relevant private- and public-interest factors in turn.
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              A. Private-Interest Factors

                      1. Negotiation and Execution of Relevant Agreements

       Because the instant case is not, at core, a contract dispute, this factor is not
dispositive. However, the allegations in this case directly implicate Wolbert’s
employment with NextGen. (See generally FAC ¶¶ 17-34.) And, as a result, contracts
relating to her employment are necessarily of some import. Accordingly, the Court notes
that Wolbert entered into an employment contract with NextGen in 2002. (La Fiura
Decl., Ex. 1, “Wolbert Decl.,” at ¶¶ 3-4, Doc. 20-2.) At that time, she also signed an
Employee Confidential Information Agreement. (Id.) It is undisputed that these
agreements were entered into while Wolbert resided in California. (Id. ¶ 3, Ex. A,
“Employment Letter.”) Moreover, the Confidentiality Agreement expressly states that
any disputes arising therefrom are to be governed by California law. (Id. ¶4, Ex. B,
“Confidentiality Agreement.”) Because of the nexus between these agreements and
California, on balance, this factor counsels against a transfer.

                      2. The Forum Most Familiar with Governing Law

        The FAC states the following three causes of action: (1) sexual harassment and
retaliation in violation of FEHA and Title VII, (2) failure to prevent discrimination,
harassment, or retaliation in violation of FEHA and Title VII, and (3) wrongful
termination in violation of public policy, as embodied by the California Constitution.
(FAC ¶¶ 62-90.) Although federal district courts are equally equipped to resolve
questions of federal law, each of Wolbert’s claims implicates California law. Therefore,
this factor also favors denying Defendants’ Motion. See, e.g., Heil v. Wells Fargo Bank,
No. C06-02002 MJJ, 2006 WL 2411416, at *2 (N.D. Cal. Aug. 18, 2006) (concluding
that applicability of Utah state law favors transfer of action from California to federal
district court in Utah).

                      3. Choice of Forum and Contacts with Forum State
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        In the instant case, several of the Jones factors are interrelated. Therefore, the
Court considers concurrently Wolbert’s choice of forum, her contacts with the forum
state, and the nexus between these contacts and Wolbert’s causes of action. Although it
is undisputed that Wolbert selected the Central District of California as her preferred
forum, Defendants contend such a choice “is given less weight . . . where the plaintiff is
not a resident of the chosen forum or where the forum lacks any significant connection to
the acts giving rise to the litigation. (Mot. at 13-14 (citing Catch Curve, Inc. v. Venali,
Inc., No. CV05-04820 DDP(AJWx), 2006 U.S. Dist. LEXIS 96379, at *5-6 (C.D. Cal.
Feb. 27, 2006)).) In Opposition, Wolbert argues her preferred forum is relevant because
“many of the operative facts occurred in [the Central District.]” (Opp. at 11.)
        As other courts in the Ninth Circuit have made clear, “where the forum lacks a
significant connection to the activities alleged in the complaint, the degree to which
courts defer to the plaintiff’s chosen venue is substantially reduced.” Broad. Data
Retrieval Corp. v. Sirius Satellite Radio, Inc., No. CV 06-1190 JFW SSX, 2006 WL
1582091, at *3 (C.D. Cal. June 6, 2006) (internal quotation marks and citation omitted).
Here, however, there exists a “significant connection” between Wolbert’s preferred
forum and her allegations. As discussed, at the time of her hiring, Wolbert entered into
an employment contract while a resident of California. (FAC ¶ 17; Wolbert Decl. ¶ 2.)
Additionally, Wolbert entered into an employment-related confidentiality agreement with
a California choice of law provision. (Confidentiality Agreement at 2.) Furthermore,
based on the allegations in the FAC, it appears that substantial parts – if not all – of the
internal investigation into Wolbert’s harassment and retaliation allegations occurred at
Quality System’s headquarters in Irvine, CA. (FAC ¶¶ 49-52, 60; Wolbert Decl. ¶¶ 28-
29.) Finally, the allegations in the FAC suggest that the decision to terminate Wolbert
was made, at least in part, by individuals based in California. (Id. ¶¶ 54-61.)
        Based on these facts, the Court concludes that there is a “significant connection”
between the Central District of California – the forum selected by Wolbert – and the
allegations contained in the FAC. Therefore, Wolbert’s choice of forum is entitled to
substantial weight. These factors therefore favor denying Defendants’ Motion.

                      4. Non-Party Witnesses
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        Each Party contends that, based on the location of the witnesses they intend to call,
this factor favors their position. (Compare Mot. at 11-12 (identifying twelve “critical”
witnesses) with Opp. at 4-5 (listing five California-based material non-party witnesses).)
        Specifically, Defendants identify twelve “critical witnesses,” six of whom
purportedly reside in Pennsylvania. (Mot. at 12.) Moreover, according to Defendants,
four additional witnesses “live in states considerably closer to Pennsylvania than
California[.]” (Id.) Finally, the remaining two witnesses, both of whom reside in
California, “will not be difficult to produce for depositions and/or trial” because these
individuals are current- or former-employees. (Id.) Wolbert responds that only ten of
Defendants’ twelve witnesses are “reasonably necessary to its defense.” (Opp. at 5-6.)
Of these ten witnesses, two reside in California while the remaining eight “are current
employees of Defendants and can be easily produced in either venue.” (Id. at 6.)
        Wolbert, for her part, argues that “[m]ore party and non-party witnesses are
located within one-hundred miles of the Central District of California than the Eastern
District of Pennsylvania.” (Id. at 4.) Wolbert contends that both Quality Systems and
NextGen have a principal place of business in California, and, as a result, that California
is where “all of their executive, administrative, financial, and management functions are
conducted.” (Id.) Wolbert specifically identifies five third-party witnesses who resided
within 100 miles of the Central District of California. (Id. at 5.) These individuals
include Wolbert’s most recent supervisor, who terminated her employment, and the
individual retained by Quality Systems to investigate Wolbert’s sexual harassment and
retaliation claims. (Id.) Defendants object that only four of these five witnesses are
“material” to the case, and that two of the remaining four witnesses have been “totally
cooperative to date.” (Reply at 3.) In fact, both witnesses have “provided sworn
affidavits to appear for trial in Philadelphia if necessary.” (Id.; La Fiura Decl., Exs. 2 &
3, Doc. 26-1.) Furthermore, Defendants argue, Wolbert’s initial Rule 26(a) disclosures
identify an additional eighteen potential witnesses, only three of whom reside in
California. (Reply at 4-5; Joint Rule 26(f) Report, Ex. C, Doc. 21.)
        Each Party’s argument suffers from certain deficiencies. Defendants’ contentions
are unpersuasive because at least half of their proposed witnesses are their own
employees. As courts in the Ninth Circuit have held, “[c]onvenience of employees is less
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important than the convenience of non-party witnesses.” Metz v. U.S. Life Ins. Co. in
City of New York, 674 F. Supp. 2d 1141, 1147 (C.D. Cal. 2009). Of the remaining six
witnesses, one – Donna Greene – lives in California and, based on the allegations in the
FAC, appears to be heavily involved in the underlying events of this case. Likewise,
another of the remaining witnesses is Wolbert herself. For obvious reasons, it is unlikely
that any court would have difficulty obtaining her testimony. However, Wolbert’s
arguments fare no better. Two of her five purportedly “material” witnesses have signed
affidavits stating that they would appear at trial irrespective of location. Moreover, a
number of the other witnesses listed in Wolbert’s Rule 26(a) disclosures are based in
Pennsylvania.
       In sum, this factor is neutral.

                      5. Sources of Proof

        As to the final factor of the “interests of justice” analysis, namely, sources of
proof, Defendants argue that “the physical evidence in their possession are located within
or closer to the Eastern District of Pennsylvania.” (Mot. at 13.) However, Wolbert
responds that many, if not all, of the relevant documents identified by Defendants “are
present on a computer network and therefore accessible from anywhere.” (Opp. at 12.)
More persuasive is the fact that certain documents – for example, those relating to the
investigation into Wolbert’s sexual harassment complaints, which occurred in California
– are likely to be found within the Central District of California and not in Pennsylvania.
Additionally, given that Defendants do not dispute that they are California corporations,
it seems likely they possess the means to readily obtain documents within their
possession, even if located in Pennsylvania. Therefore, the Court finds this element to be
neutral.

              B. Public-Interest Factors

        Defendants offer three arguments as to why the public-interest factors favor
transfer. (Mot. at 14-15.) First, Defendants contend “the local interest in this controversy
is stronger in the Eastern District of Pennsylvania” because that is where Wolbert lived,
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worked and was allegedly harmed. (Id. at 14.) Second, Defendants assert that there is
greater docket congestion – as measured by pending cases and weighted filings – in the
Central District of California than in the Eastern District of Pennsylvania. (Id. at 14-15.)
Finally, Defendants posit that this matter “involves no unique issue of California law[.]”
(Id. at 15.)
        In opposition, Wolbert challenges each of these arguments. (Opp. at 12-15.)
Specifically, Wolbert argues that the Central District of California has a local interest in
adjudicating this matter because both Defendants are headquartered in Irvine, California.
(Id. at 12.) Therefore, Wolbert contends, her claims “concern[] the actions of
Californians at California companies.” (Opp. at 13.) Additionally, Wolbert emphasizes
that her claims implicate California law and that, contrary to Defendants’ assertions, the
Eastern District of Pennsylvania’s docket – as measured by “median pretrial duration” –
is the more congested forum. (Id. at 14-15.)
        The Court finds that both districts have a plausible “local interest” in adjudicating
Wolbert’s claims. In terms of docket congestion – as measured by the number of pending
actions per judge (445 vs. 391) and the weighted filings per judge (655 vs. 393) – the
Central District of California is the busier docket. See generally Federal Court
Management Statistics, “Comparison of Districts – 12-Month Period Ending June 30,
2015,” www.uscourts.gov/statistics/table/na/federal-court-management-
statistics/2015/06/30-1. In contrast, however, because Wolbert’s claims rely in part on
California state law claims, the Central District of California has a greater familiarity
with at least some of the applicable law. Therefore, when balanced, the Court finds that
the public-interest factors are neutral as to whether a transfer is appropriate.

              C. Summary of Private- and Public-Interest Factors

       For the reasons stated above, the Court finds that a predominance of the private-
interest factors disfavor transferring Wolbert’s action to a forum in Pennsylvania. This
outcome is not altered when the public-interest factors are considered because, when
taken collectively, they are neutral. As discussed, “[t]he defendant must make a strong
showing of inconvenience to warrant upsetting the plaintiff’s choice of forum.” Decker
Coal, 805 F.2d at 843. Here, Defendants fail to do so.
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IV.    CONCLUSION

       Accordingly, the Court DENIES Defendants’ Motion to Transfer Venue.




                                                              Initials of Preparer: tg




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